                         Case 1-15-44838-nhl                         Doc 1        Filed 10/28/15                       Entered 10/28/15 12:19:54



     BI (Official Fonn I )(04/13)                                                                                                                                                  0l/?;r'\
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                                              UNITED STATES BANKRUPTCY COURT

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      Naf<o~r/i18du.Ee~ast. Fiti~t'Y1 L F="R H ;J                                                    f
                                                                                                             Name of Joint Debtor (Spouse) (Last, First, Middle):

      All Other Names used by the Debtor in !he last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
      (include married, maiden, and trade names):                                                          (include married, maiden, and trade namc:s):

                              JJDJJ~.
      Last four digits of Soc. Sec. or Individual-Taxpayer l.D. (ITIN)/Complete EIN
      (if more than one, state all):                   q /n '7 (n                                         Last four digits of Soc. Sec. or Individual-Taxpayer l.D. (ITIN)/Complete EIN
                                                                                                          (if more than one, state all):

      Street Address of Debtor (No. and Stree~ City, and State):                                          Street Address of Joint Debtor(No. and Street, City, and State):
      3D~                 HARHA/j                      -S1-R.EG "t-
     ?JQDok.             Ly. t()   I   /JEW yo12K. -, , ~37
                                                                        IZIP CODE            I                                                                                     lzIPCODE              I
     County of Residence o~ tlf;3"~~ace of Business:                                                      County of Residence or of the Principal Place of Business:
     Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):

           ~Pr~~
                                                                     IZIP CODE            I                                                                                        lzIP CODE             I
     Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                             !ZIP CODE                 I
                              Type of Debtor                                         Nature of Business                                          Chapter of Bankruptcy Code Under Which
                           (Fonn of Organization)                        (Check one box.)                                                           the Petition is Filed (Check one box.)
                             (Check one box.)
                                                                         D     Health Care Business                                       D Chapter 7                     D   Chapter 15 Petition for
     ef See
        Individual (includes Joint Debtors)
            Exhibit Don page 2
                                                                         D     Single Asset Real Estate as defined in                     D Chapter9                          Recognition of a Foreign
                                        ofthis form.                           11 U.S.C. § 101(51 B)
     D     Corporation (includes LLC and LLP)
                                                                                                                                          D Chapter 11                        Main Proceeding
                                                                         D     Railroad                                                   D Chapter 12                    D   Chapter 15 Petition for
     D     Partnership                                                   D     Stockbroker                                                51,....- Chapter 13                 Recognition of a Foreign
     D     Other (If debtor is not one of the above entities, check      D     Commodity Broker                                                                               Nonmain Proceeding
           this box and state type of entity below.)'
                                                                         ~
                                                                               Clearing Bank
                                                                               Other
                      Chapter IS Debtors                                             Tax-Exempt Entity                                                          Nature of Debts
  Country of debtor's center of main interests:                                  (Check box, if applicable.)                              u{                    (Check one box.)
                                                                                                                                      ,       Debts are primarily consumer D Debts are
                                                                         D    Debtor is a tax-exempt organization                             debts, defined in 11 U.S.C.        primarily
 Each country in which a foreign proceeding by, regarding, or                 under title 26 of the United States                             § 101(8) as "incurred by an        business debts.
 against debtor is pending:                                                   Code (the Internal Revenue Code).                               individual primarily for a
                                                                                                                                              personal, family, or
                                                                                                                                              household purpose."
                                       Filing Fee (Check one box.)                                                                                Chapter 11 Debtors
                                                                                                         Check one box:
 D        Full Filing Fee attached.                                                                      D Debtor is a small business debtor as defined in 11 U.. S.C. § I0 I(51 D).
 ~        Filing Fee to be paid in installments (applicable to individuals only). Must attach
                                                                                                         D Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51 D).
          signed application for the court's consideration certifying that the debtor is                 Check If:
          unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                  D Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                             insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
 D        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                          on 4101116 and every three years thereafter~
          attach signed application for the court's consideration. See Official Fonn 38.                 -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                         D
                                                                                                   A plan is being filed with this petition.
                                                                                                         D
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                   of creditors in accordance.with 11 U.S.C. § 1I26(b).
Statistical/Ad mlnlstrative In form a lion                                                                                                                   TlflS SPACE tS FOR
                                                                                                                                                    ,._, COURT MSl: ONLY
                                                                                                                                                                   rn Ul .
~
            Debtor estimates !hat funds will be available for distribulion to unsecured creditors.                                                   c::::>
            Debtor estimates that, a tier any exempt property is excluded and administrative exiienses paid, there will be no funds avail~for                      :P-



                                                                                                                                                                              -
                                                                                                                                                     <.J'.">        c.J)c;o
            distribution to unsecured creditors.                                                                                           -
                                                                                                                                           , ..       c::::>        ;:;:i»
Estimated Number of Creditors                                                                                                                         ' ,       ::Z::;o~ .
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                                   100-199
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$0 to          $50,001 to       $100,001 to       $500,001     $1,000,001     $10,000.00 I       $50,000,00 I        $100,000,001              $500,000,001     l:EJ>re than •             Oc::
                                                                                                                                                                                           -ri?:)
$50,000        $100,000         $500,000          to $1        to $10         to $50             to$100              to $500                   to $1 billion      $1 billion t: ~              -'
                                                  million      million        million            million             million                                                   c
Estimated Liabilities
D              D               fZf                D            D              D              D                       D                         D                 D
~o   to        SS0.001 10      $100.0<Jl     to   $500.()(ll   $1.000.0<)1   $10,000.001     $50,000.00 I            $I 00.(J00,001            $500.000.001      More than
$50.00()       $100.0<Xl       $500.000           10 ll        to .$10       to $50          to $100                 to $51Xl                  to$! billion      $1 billion
                                                  million      million       million         million                 million
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  BI <Official Fonn I) (04/13)
                                                                                                                                                                             Page2
   Voluntary Petillon
                                                                                                 /!me ofDebtor(s): Q
   rrhis oar<e must be completed and filed in everv case.)
                                                                                                      ut-1 1         c         Hf'l      < K'DbR.ia u E-z.
                                             All Prior Bankruptcv Ca~ Filed Within Last 8 Years (lfmorethan two, attach additional sheet.) .                                   -
   Location
   Where Filed:                                                                            Case Number:                                   Date Filed:
   Location
                                                                                                 Case Number:                                       Date Filed:
   Where Filed:
                               Pendimz Bankruptcy Case Filed by anv Soouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
   Name of Debtor:
                                                                                             Case Number:                                    Date Filed:
  District:
                                                                                                 Relationship:                                      Judge:


                                             Exhibit A                                                                                  Exhibit 8
  (To be completed if debtor is required to file periodic reports (e.g., fonns IOK and
                                                                                                                         (To be completed if debtor is an individual
  IOQ) with the S.ecurities and Exchange Commission pursuant to Section 13 or IS(d)
                                                                                                                         whose debts are primarily consumer debts.)
  of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                infonned the petitioner that [he or she) may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
 D       Exhibit A is attached and made a part of this petition.
                                                                                                x
                                                                                                    Signature of Attorney for Debtor(s)          (Date)

                                                                                      ExhibitC
 Does the debtor own or have possession of any property that poses or is .alleged to pose a threat of imminent and identifiable hann to public health or safety?

D       Yes, and Exhibit C is attached and made a part of this petition.

ri      No.



                                                                                     Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

rJ     Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

lftliis is a joint petition:

 0     Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                     Information Regarding the Debtor - Venue
                                                                              (Check any applicable box.)
              []'    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                     preceding the date of this petition or for a longer part of such 180 days than in any other District.

            D        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

           D         Debtor is a debtor in a foreign proceeding and h'as its principal place of business or principal assets in the United States in this District, or has
                     no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court) in this
                     District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Resldenlfal Property
                                                                          (Check all applicable boxes.)

           D            Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                              (Name of landlord that obtained judgment)



                                                                                             (Address of landlord)

          D            Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be pennitted to cure the
                       entire monetary default that gave rise to the judgment for possession, afier the judgment for possession was entered, and

          D            Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period afier the filing
                       of the petition

          D            Debtor certifies that he/she has served the Landlord with chis ceruricacion ( 11 lJ SC    §   362(1))
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    BI Official Fonn I 04/13)
                                                                                                                                                                                       Pa e J
     Voluntary Petition
       his    e must be com leted and 1led in eve      case.
                                                                                         SI
                          Slgnature{s) or Debtor{s) (lndivlduaVJoln t)                                                       Signature ofa Foreign Representative

     I declare under penalty of perjury that the infonnation provided in this petition is true       I declare under penalty of perjury that the information provided in this petition is true
    and correct.                                                                                     and correct, that I am the foreign representative of a debtor in a foreign proceeding,
    [If petitioner is an individual whose debts are primarily consumer debts and has                 and that I am authorized to file this petition.
    chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
    or 13 of title 11, United States Code, understand the relief available under each ·such          (Check only one box.)
    chapter, and choose to proceed under chapter 7.
    [lfno attorney represents me and no bankruptcy petition preparer signs the petition]             0      I request relief in accordance with chapter 15 of title 11, United States Code.
    have obtained and read the notice required by 11 U.S.C. § 342(b).                                     · Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

                                                                                                     0     Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                                                          chapter of title 11 specified in this petition. A certified copy of the
                                                                                                          order granting recognition of the foreign main proceeding is attached.

                                                                                                     x
                                                                                                          (Signature of Foreign Representative)
    x
          Signature of Joint Debtor                                                                       (Printed Name of Foreign Representative)

          Telephone Number (if not repr sented y attorney)
                                                                                                          Date
          Date
                                                                                                                 . Signature of Non-Attorney Bankruptcy Petition Preparer

    x                                                                                             I declare under penalty of perjury that: (I) I am a bankruptcy petition preparer as
         Signature of Attorney for Debtor(s)                                                      defined in I I U.S.C. § 11 O; (2) I prepared this document for compensation and have
                                                                                                  provided the debtor with a copy of this document and the not.ices and information
         Printed Name of Attorney for Debtor(s)                                                   required under 11 U.S.C. §§I IO(b), I IO(h), and 342(b); and, (3) if rules or
                                                                                                  guidelines have been promulgated pursuant to 11 U.S.C. § 1 IO(h) setting a maximum
         Firm Name                                                                                fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                                  notice of the maximum amount before preparing any document for filing for" a debtor
                                                                                                  or accepting any fee from the debtor, as required in that section. Official Fonn 19 is
                                                                                                  attached.
         Address

         Telephone Number                                                                                Printed Name and title, if any, of Bankruptcy Petition Preparer

         Date
                                                                                                         Social-Security number (If the bankruptcy petition preparer is not an individual,
•in a case in which§ 707(bX4XD) applies, this signature also constitutes a
                                                                                                         state the Social-Security number of the officer, principal, responsible person or
certification that the attorney has no knowledge after an inquiry that the infonnation
                                                                                                         partner of the bankruptcy petition preparer.) (Required by 11U.S.C.§110.)
in the schedules is incorrect.

                     Signature of Debtor (Corporation/Pa rtnership)

I declare under penalty of perjury that the infonnation provided in this petition is true
                                                                                                         Address
and correct, and that I have been authorized to file this petition on behalf of the
debtor.
                                                                                                 x
The debtor requests the relief in accordance with the chapter of title 11, United States                 Signature
Code, specified in this petition.

x                                                                                                        Date
        Signature of Authorized Individual
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible person, or
        Printed Name of Authorized Individual
                                                                                                 partner whose Social-Security number is provided above.
        Title of Authorized Individual
                                                                                                 Names and Social-Security numbers of all other individuals who prepared or assisted
        Date                                                                                     in preparing this document unless the bankruptcy petition preparer is not an
                                                                                                 individual.

                                                                                                 If more than one person prepared this documen~ attach additional sheets conforming
                                                                                                 to the appropriate official form for each person.

                                                                                              A bankruptcy petition preparer'.rfailure to comply wirh the provisions ofritle 11 and
                                                                                              the Federal Rules of Ba11kr11ptcy Procedure may res11lt in Jines or imprisonment or
                                                                                              both. II U.S.C. /JO; 18 U.S.C. 156.
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 B6A (Official Fonn 6A) (12107)

 In re                                                                                                  Case N o . - - - - - - - - - - - -
                                                                                                                     (If known)


                                            SCHEDULE A- REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is manied, state whether the husband, wife, both, or the marital community own the property by placing an "H,"
"W," "],"or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. lfno entity claims
to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

    If the debtor is an individual or ifajoint petition is filed, state the amount of any exemption claimed in the property only in Schedule C- Property
Claimed as Exempt.




             DESCRIPTION AND                                                                      CURRENT VALUE                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR'S                             OF DEBTOR'S                       SECURED
                PROPERTY                            INTEREST IN PROPERTY                            INTEREST IN                        CLAIM
                                                                                                PROPERTY, WITHOUT
                                                                                                  DEDUCTING ANY
                                                                                                  SECURED CLAIM
                                                                                                   OR EXEMPTION




                                                                                Total>-       500
                                                                                (Report also on Summ
                                                                                                            00 O·
                                                                                                            of Schedules.)
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                                   er
   B 6D (Official Fonn

                                                   Debtor           -------cJ a                                                              (If known)

                                  SCHEDULED - CREDITORS HOLDING SECURED CLAIMS
              State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
   property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the credftor is useful
   to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
  judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
              List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
   address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. § 112
   and Fed. R. Bankr. P. I007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
  entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife,
  both of them, or the marital community may be liable on each claim by placing an "H," "W," "1," or "C" in the column labeled "Husband, Wife,
  Joint, or Community."
              If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
  labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X'' in more than one of
  these three columns.)
             Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes
  labeled "Total(s)" on the last sheet of the completed schedule. Report the total from the column labeled "Amount of Claim Without Deducting Value
  of Collateral" also on the Summary of Schedules and, ifthe debtor is an individual with primarily consumer debts, report the total from the column
  labeled "Unsecured Portion, if Any" on the Statistical Summary of Certain Liabilities and Related Data.

             D           Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


    CREDITOR'S NAME AND                           ~          DATE CLAIM WAS
                                                                                           zi:.l!--<
                                                                                                       A                  AMOUNT OF CLAIM                 UNSECURED
                                                  ~~1'.:
                                                                                                       ~
       MAILING ADDRESS                     ~                    INCURRED,                              !--<      0            WITHOUT                     PORTION, IF
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  ACCOUNT NO.




                                                            VALUES
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 --attached                                                 (Total of this page)
                                                            Total ...                                                                                 $
                                                            (Use only on last page)                                      $   JaoO,VO'O·
                                                                                                                         (Report also on Summary of   (lfappl1cable, report
                                                                                                                         Schedules.)                  also on Statistical
                                                                                                                                                      Summary of Certain
                                                                                                                                                      Liabilities and Related
                                                                                                                                                      Data.)
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    B 20!B (Fonn 201B) (12/09)



                                      UNITED STATES BANKRUPTCY COUR T
                                                         Eastern District of New York

    In re                                                                              Case No. - - - - - - -

                                                                                       Chapter __/~~---


                                 CERTIFICATION OF NOTICE TO CONSU~R DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE


                                      Certificati on of [Non-Atto rney] Bankruptc y Petition Preparer
           I, the [non-attorney) bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered
                                                                                                                             to the debtor the
  attached notice, as required by§ 342(b) of the Bankruptcy Code.


  Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
  Address;                                                                           preparer is not an individual, state the Social Security
                                                                                     number of the officer, principal, responsible person, or
                                                                                     partner of the bankruptcy petition preparer.) (Required
                                                                                     by 11 U.S.C. § 110.)

 Signature of Bankruptcy Petition Preparer or officer,
 principal, responsible person, or partner whose Social
 Security number is provided above.




                                                         Certificati on of the Debtor
            I (We), the debtor(s), affum that I (we) have received and read thci attached notice, as required by§ 342(b)
                                                                                                                         of the Bankruptcy
 Code.

 Cbu 1LLERHD
Printed Name(s) ofDebtor(s)
                                  Rl50R.1~Ez.                                                                        /b -c;;J&-15.
                                                                                                                           Date

Case No. (if k n o w n ) - - - - - - - - - -
                                                                           x-------~--~-~~-~
                                                                           Signature of Joint Debtor (if any)              Date




Instructio ns: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under§ 342(b) of the Bankruptc
                                                                                                         y Code.
Use this form to certify that the debtor has received the notice required by 11 u.S.C. § 342(b) only
                                                                                                      if the certification has
NOT been made on the Voluntary Petition, Official Form Bl. Exhibit B on page 2 of Form BI contains
                                                                                                             a certification by the
debtor· s attorney that the attorney has given the notice to the debtor. The Declaratio ns made by debtors
                                                                                                            and bankruptcy
petition preparers on page 3 of Form BI also include this certification.
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                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NE\\! YORK



                                                --x
 In Re:

                                                                Case No.

                                                                Chapter         /3
                        Debtor(s)
                                                     x


     VERIFICATION OF CREDITOR MATRlX/LIST OF CREDITORS



               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that
the creditor matrix/list of creditors submitted herein is true and correct to the best of his or her
knowledge.




Dated:    10-d.-&- /5 ·




                                               Joint Debtor




                                               Attorney for Debtor
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                               Wells Fargo Bank

                                 In Care Of:

                        Frankel, Lambert and Weiss

                          20 West Main Street,

                              Bayshore, NY 11706




                                                                               /
